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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI

 PARALLEL TOWERS III, LLC, and                           )
 CELLECTIVE SOLUTIONS, LLC,                              )
                                                         )
                           Plaintiffs,                   )
                                                         )
 v.                                                      )
                                                         )          Case No. ________________
 COUNTY OF ST. CHARLES, MISSOURI,                        )
                                                         )
       Serve: Rory O’Sullivan                            )
             County Counselor                            )
             100 N. Third St.                            )
             Suite 216                                   )
             St. Charles, Missouri 63301                 )
                                                         )
                          Defendant.                     )

                      COMPLAINT SEEKING EQUITABLE AND MANDAMUS
                       RELIEF, AND REQUEST FOR EXPEDITED REVIEW

         COMES NOW Plaintiff Parallel Towers III, LLC (“Parallel”) and Plaintiff Cellective

Solutions, LLC (“Cellective Solutions”) (collectively “Plaintiffs”), by and through their attorneys, and

for their Complaint against Defendant County of St. Charles, Missouri (the “County”), states and

alleges as follows:

                                    NATURE OF THE MATTER

         1.       This action seeks relief from the County’s improper denial of Plaintiff’s application for

a conditional use permit to construct a telecommunication tower (the “Proposed Tower”) on a parcel

of property near Highway D in Defiance, Missouri. The Proposed Tower location is on the sloping

southern end of a parcel that would nestle the tower against a tree line and result in a minimal visual

presence. Plaintiffs seek to build this tower so that AT&T, the dominant carrier in the region, can

economically provide enhanced 5G cellular services to the citizens of the County and first responders

through the FirstNet network. Plaintiffs seek injunctive and mandamus relief under 47 U.S.C. § 332

to establish that the County’s denial of Plaintiffs’ application to construct a wireless communications


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facility (“WCF”) consisting of a telecommunications monopole tower, antennas and related

appurtenances and ground equipment violates the “Federal Telecommunications Act of 1996” (the

“TCA”) because the County’s denial is not based on substantial evidence in the record. In addition,

the County’s denial of Plaintiffs’ application for a special use permit violates Missouri state laws

including Mo. Rev. Stat. § 67.5090, et seq.

                                              PARTIES

        2.      Parallel is a Delaware limited liability company.

        3.      Cellective Solutions is a Missouri limited liability company.

        4.      The County Council and County Executive constitute the governing body of the

County.

        5.      The County acts through the County Council and the County Executive.

        6.      The County is organized under the laws of the State of Missouri and has the capacity

to sue and be sued.

                                  JURISDICTION AND VENUE

        7.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331

and § 1367 because these claims arise under the laws of the United States, specifically 47 U.S.C. §

332(c)(7).

        8.      This case presents an actual controversy under Article III of the United States

Constitution and 28 U.S.C. § 2201 because the County has violated Plaintiffs’ federal rights under the

TCA.

        9.      This Court has supplemental jurisdiction under 28 U.S.C. § 1367(a) for Plaintiffs’ state

law claims under Mo. Rev. Stat. § 67.5090, et seq.




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         10.     Venue is proper in this Court because the County is in this judicial district, the events

and/or omissions giving rise to this action occurred in this judicial district, and the property affected

is located within this judicial district.

         11.     The TCA provides that “the Court shall hear and decide such action on an expedited

basis.” 47 U.S.C. § 332(c)(7).

                                 FACTS COMMON TO ALL COUNTS

    I.         FEDERAL CONTROL OVER THE CONSTRUCTION OF WIRELESS
               FACILITIES

         12.     The demand for wireless service and the associated bandwidth has never been higher.

The transmission of wireless data is rising rapidly. Additional cell towers and other wireless facilities

must be built to meet those needs.

         13.     Section 151 of the TCA establishes a national policy to “make available, so far as

possible, to all people of the United States, without discrimination . . . a rapid, efficient, Nation-wide,

and world-wide wire and radio communication service with adequate facilities at reasonable charges,

for the purpose of national defense, [and] for the purpose of promoting safety of life and property

through the use of wire and radio communications . . . .” 47 U.S.C. § 151.

         14.     Section 1302(a) of the TCA provides that “[t]he Commission and each State

commission with regulatory jurisdiction over telecommunications services shall encourage the

deployment on a reasonable and timely basis of advanced telecommunications capability to all

Americans . . . by utilizing, in a manner consistent with the public interest, convenience and necessity

. . . regulating methods that remove barriers to infrastructure investment.” 47 U.S.C. § 1302(a).

         15.     Consistent with these policies, Congress and the FCC have sought to eliminate barriers

and streamline the regulatory review process to facilitate deployment of wireless communications

infrastructure necessary for the efficient creation of new wireless networks.



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          16.     Section 332(c)(7) of the TCA generally preserves State and local authority over wireless

facility siting, while also placing important limitations on that authority.

          17.     Section 332(c)(7)(B)(iii) requires that “[a]ny decision by a State or local government or

instrumentality thereof to deny a request to place, construct, or modify personal wireless service

facilities shall be in writing and supported by substantial evidence contained in a written record.” 47

U.S.C. § 332(c)(7)(B)(iii).

          18.     Furthermore, the TCA provides that the “regulation of the placement, construction,

and modification of personal wireless service facilities by any State or local government or

instrumentality thereof . . . shall not unreasonably discriminate among providers of functionally

equivalent services…” 47 U.S.C. § 332(c)(7)(B)(i)(I).

          19.     Section 332(c)(7)(B)(v) provides that “[a]ny person adversely affected by any final

action or failure to act” by a State or local government on a personal wireless service facility siting

application “may, within 30 days after such action or failure to act, commence an action in any court

of competent jurisdiction.” 47 U.S.C. § 332(c)(7)(B)(v).

    II.         MISSOURI UNIFORM WIRELESS COMMUNICATIONS
                INFRASTRUCTURE DEPLOYMENT ACT

          20.     In August 2014, Missouri’s Uniform Wireless Communications Infrastructure

Deployment Act (“Act” or “Missouri Siting Act”), Mo. Rev. Stat. 67.5090, et seq., went into effect.

          21.     The Act serves to regulate the power of local governments related to

telecommunication facility applications.

          22.     Section 67.5094 of the Act, entitled “Prohibited Acts by Authority”, prohibits a

municipality from, among other things:

                  (1)     Requir[ing] an applicant to submit information about, or evaluate
                  an applicant’s business decisions with respect to its designed service,
                  customer demand for service, or quality of its service to or from a
                  particular area or site;


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                   (2)     Evaluat[ing] an application based on certain criteria, such as the
                   availability of other potential locations for the placement of wireless
                   support structures or wireless facilities, including without limitation the
                   option to collocate instead of construct a new wireless support structure
                   or for substantial modifications of a support structure, or vice versa . . . .
                   [or]

                   (3)    Dictat[ing] the type of wireless facilities, infrastructure or
                   technology to be used by the applicant. . . .

                   (4)     Requir[ing] the removal of existing wireless support structures or
                   wireless facilities, wherever located, as a condition for approval of an
                   application;…

                   (15) Discriminat[ing] or create a preference on the basis of the
                   ownership, including ownership by the authority, of any property,
                   structure, or tower when promulgating rules or procedures for siting
                   wireless facilities or for evaluating applications;…

                   (18) Condition the approval of an application on, or otherwise require,
                   the applicant's agreement to indemnify or insure the authority in
                   connection with the authority's exercise of its police power-based
                   regulations;…

Id. at § 67.5094(1), (2), (3), (4), (15), and (18).

    III.         THE COUNTY’S ZONING CODE

           23.     Section 405.505 of the Ordinances of St. Charles County, Missouri (“County

Ordinances”) set forth the standards for WCF development in the County. A true and accurate copy

of section 405.505 is attached as Exhibit 1.

           24.     Section 405.505(A)(1)-(4) provides rules for WCF placement based on zoning:

           A, Agricultural District. Telecommunication facilities are allowed in the Agricultural
           District only with the issuance of a conditional use permit, provided that the distance
           from the center of the base of the tower to the nearest property line shall not be less
           than the height of the tower. The height of the proposed telecommunication facility
           shall be stated in the conditional use permit. The minimum distance between
           telecommunication towers shall be one (1) mile with the issuance of the conditional
           use permit.

           CO, Office District and C1, Neighborhood Commercial District permit
           telecommunication facilities to a height of sixty (60) feet for one (1) user and to a
           height of eighty-five (85) feet for two (2) or more users, provided that the distance
           from the center of the tower base to the nearest ―A‖ (Agricultural) or ―R‖


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        (Residential) District property line shall not be less than the height of the tower. Any
        telecommunication facility in excess of eighty-five (85) feet in height requires the
        approval of a conditional use permit. The minimum distance between
        telecommunication towers shall be one (1) mile.

        C2, General Commercial District permit telecommunication facilities to a height of
        one hundred (100) feet for one (1) user and to a height of one hundred twentyfive
        (125) feet for two (2) or more users, provided that the distance from the center of the
        tower base to the nearest ―A‖ (Agricultural) or ―R‖ (Residential) District property line
        shall not be less than the height of the tower. Any telecommunication facility in excess
        of one hundred twenty-five (125) feet in height requires the approval of a conditional
        use permit. The minimum distance between telecommunication towers shall be one
        (1) mile.

        I1, Light Industrial District and I2, Heavy Industrial District permit
        telecommunication facilities to a height of one hundred fifty (150) feet for one (1) or
        two (2) users and to a height of one hundred seventy-five (175) feet for three or more
        users, provided that the distance from the center of the tower base to the nearest ―A‖
        (Agricultural) or ―R‖ (Residential) District property line shall not be less than the
        height of the tower. Any telecommunication facility in excess of one hundred seventy-
        five (175) feet requires the approval of a conditional use permit. The minimum
        distance between telecommunication towers shall be one (1) mile except where
        telecommunication tower farms are permitted.

See Ex. 1, at § 405.505(A)(1)-(4).

        25.     Section 405.505(C)(7)(b) provides that a conditional use permit (“CUP”) is necessary

whenever a proposed WCF “does not meet spacing or setback standards” as stated in section

405.505(A). See Ex. 1, at § 405.505(C)(7)(b).

        26.     After a CUP application is filed, the matter is set for hearing by the Planning and

Zoning Commission at their next scheduled meeting. See Ex. 1, at § 405.505(C)(5).

        27.     Adjustments to the requirements of 405.505(A) “shall be granted only by approval of

conditional use permits and only for good cause stated and show.” See Ex. 1, at § 405.505(C)(7)(b).

        28.     Section 405.510 of the County Ordinances sets forth the general criteria for

submission of CUPs in the County. A true and accurate copy of section 405.510 is attached as Exhibit

2.

        29.     Section 405.510 provides


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          Before authorizing the issuance of a conditional use permit, the County Council may
          impose such conditions as will, in the County Council's judgment, [(1)] ensure that the
          establishment, maintenance, or operation of the conditional use will not be detrimental
          to or endanger public health, safety, or general welfare; [(2)] that the conditional use
          will not be injurious to the use and enjoyment of other property in the immediate
          vicinity for the purposes already permitted or to the esthetic and/or scenic values of
          the vicinity, nor substantially diminish and impair property values within the
          neighborhood; and [(3)] that the establishment of the conditional use will not impede
          the normal and orderly development and improvement of surrounding property for
          uses permitted in the district.

See Ex. 2, at § 405.510(B).

          30.     Section 405.511 of the County Ordinances sets forth the procedures for review of

CUPs in the County. A true and accurate copy of section 405.511 is attached as Exhibit 3.

          31.     The County Council’s decision regarding the CUP is a final action for purposes of

judicial review. See Ex. 3, at § 405.511(D).

    IV.         APPLICATION FOR CONDITIONAL USE

          32.     Parallel is in the wireless telecommunications industry and places, constructs, modifies,

operates and manages personal wireless services and telecommunication facilities on behalf of its

clients across the United States.

          33.     One of Parallel’s clients is AT&T Corporation (“AT&T”), a national provider of

personal wireless communication service, which holds one or more licenses granted by the Federal

Communications Commission (“FCC”), to provide commercial radio services, or wireless

telecommunication services, across the United States.

          34.     In this case, AT&T engaged Parallel to locate, build, and operate a WCF for use by

AT&T to provide wireless telecommunication services in the County.

          35.     In turn, Parallel engaged Cellective Solutions to provide site acquisition services.

          36.     Cellective Solutions, on behalf of Parallel, submitted its application for a conditional

use permit with adjustments to the height, setback, and spacing standards (the “Application”) to the

County on July 30, 2021.

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       37.     The Proposed Tower in the Application is a 115-foot tall monopole

telecommunications tower.

       38.     After spending considerable time and resources locating a parcel of land that would

meet the needs of AT&T, Plaintiffs found an ideal location. This proposed site was located at 3678

Highway D, Defiance, Missouri, 63341 (“Proposed Site”).

       39.     AT&T desires to relocate from another WCF in the area because that tower owner is

imposing a cost structure that is not feasible and impacts AT&T’s ability to economically provide

enhanced 5G services to County residents and FirstNet connectivity for first responders. FirstNet is

a public safety communications network for law enforcement and other first responders that provides

uninterrupted connective and reduces emergency response times.

       40.     The Proposed Site was chosen because it was within AT&Ts search area, zoned

commercial and located in an area of heavy tree cover giving screening to nearby properties.

       41.     The Proposed Site is the home of Wolf’s Highway D Self-Storage, on a lot, which is

only 100-foot wide, precluding the Proposed Tower from complying with the 1:1 setback requirement

of County Ordinance § 405.505(A)(2).

       42.     The Proposed Site is owned by Gerald and Sharon Wolf (the “Property Owners”).

       43.     Plaintiffs and the Property Owners have also executed a Lease to allow Parallel the

right to lease certain portions of the Property for placement of the Proposed Tower.

       44.     The Proposed Site identified for the Proposed Tower is zoned C1 or Neighborhood

Commercial District.

       45.     Even though WCFs are properly allowed in C1 zones, Plaintiffs’ were required to

submit a CUP application County Ordinances restrictions on height, setback, and spacing.

       46.     The Property Owner has vested Plaintiffs with complete authority to pursue the

Application, and any associated appeals.


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    V.         CONSIDERATION BY THE PLANNING AND ZONING COMMISSION

         47.     On October 4, 2021, the County informed Cellective Solutions that the Application

was considered complete and would be considered by the Planning and Zoning Commission.

         48.     On October 12, 2021, the County sent a letter to Cellective Solutions informing

Plaintiffs that the County Planning and Zoning Board Staff recommended denial of the Application

(the “Staff Report”). The Staff Report is attached as Exhibit 4.

         49.     The Staff Report relied on the factors in County Ordinance § 405.510(B) to determine

whether “good cause” could be shown to grant the Application, pursuant to County Ordinance

405.505(C)(7)(b). See Ex. 4, at pg. 3.

         50.     The three factors considered by the Planning and Zoning Staff (“Staff”) were:

                 (1)     Would the establishment, maintenance, or operation of the
                 conditional use be detrimental to or endanger public health, safety, or
                 general welfare?

                 (2)     Would the conditional use will not injure the use and
                 enjoyment of other property in the immediate vicinity for the purposes
                 already permitted or to the esthetic and/or scenic values of the vicinity;
                 or substantially diminish and impair property values within the
                 neighborhood?

                 (3) Would establishment of the conditional use impede the normal and
                 orderly development and improvement of surrounding property for
                 uses permitted in the district?

Ex. 4, at pg. 3-4.

         51.     As to the first factor considered, the Staff concluded that “the establishment of the

conditional use would not be detrimental to or endanger public health, safety, or general welfare.” Ex.

4, at pg. 3.

         52.     As to the second factor considered, the Staff concluded that the Proposed Tower

would not comply. Ex. 4, at pg. 4. The Staff noted that “the tower base would be about 670 feet and

beyond several existing mini-warehouse storage buildings” and “[t]he ground level drops about 20 feet


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from Hwy D to the rear property line where the tower is proposed.” Id. However, the Staff found

that, even though “these factors combined would reduce the visual intrusion of a tower as viewed

from Hwy D,” the nearest resident was only 370 feet away. Id. As such the Staff concluded that the

height of the Proposed Tower “can be visually intrusive for views from [the neighboring] residence.”

Id.

            53.     As to the third factor considered, the Planning and Zoning Staff concluded that

“establishment of the conditional use would not impede the normal and orderly development of

surrounding properties, which are zoned A, Agricultural District.” Ex. 4, at pg. 4.

            54.     Upon request of Plaintiffs, on behalf of Parallel, the hearing on the Application was

continued to the November 17, 2021 meeting of the Planning and Zoning Commission.

            55.     At the November 17, 2021 meeting, the Planning and Zoning Commission considered

of the Application, and ultimately decided to recommend that the County Council deny the

Application.

            56.     The recommendation of the Planning and Zoning Commission was communicated in

writing to Cellective Solutions on November 18, 2021. A true and accurate copy of this letter is

attached as Exhibit 5.

            57.     On December 14, 2021, per County Ordinance section 405.511, Cellective Solutions,

on behalf of Parallel, executed the Conditional Use Permit Stipulation Agreement in order to forgo

its right to a formal administrative hearing.1

      VI.         CONSIDERATION BY THE COUNTY COUNCIL



1        Plaintiffs’ consent to the Conditional Use Permit Stipulation Agreement was not a tacit agreement to any of the
findings or conclusions of the Planning and Zoning Commission. Plaintiffs’ consent to the expedited process was wholly
based on the County’s promise that if Plaintiffs did consent, the Application would be considered on December 20, 2021
instead of in March 2022, at the earliest. The County informed Plaintiffs that if it did not consent to the Conditional Use
Permit Stipulation Agreement, it would have to formally request to extend the review period under section 67.5096 RSMo,
expressly requiring Plaintiffs to forgo its right to have the Application considered within a reasonable period of time, under
Missouri and federal law, in order to proceed with the administrative hearing.

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        58.      On December 20, 2021, the County Council met for a duly noticed public meeting.

        59.      At this December 20, 2021 meeting, the County Council considered whether to

approve the Application, but ultimately denied the Application.

        60.      The Director of Planning and Zoning Division sent a brief written statement of denial

dated December 21, 2021 to Cellective Solutions. A true and accurate copy of this letter attached as

Exhibit 6.

        61.      The reason for the denial was not included in the December 21, 2021 letter. See Ex. 6.

        62.      On January 11, 2021, twenty-one (21) days after the written statement of denial was

issued, the County Council issued a written explanation of its reasoning for the December 20, 2021

denial of the Application. The County Council noted that good cause was not stated to support the

height, setback, and spacing changes, and, as such, the County Council did not have the authority to

approve the Application. A true and accurate copy of the County’s written explanation for its decision

is attached as Exhibit 7.

        63.      The County Council did not state what factors or considerations govern a

determination of “good cause.” See Ex. 7.

        64.      The County Council only listed two paragraphs listing its “Conclusions of Law.” See

Ex. 7, at ¶¶ 62-63.

        65.      Neither paragraph included an explanation of why good cause was not shown, but

instead made conclusions without support or analysis. See Ex. 7, at ¶¶ 62-63.

        66.      The only reasoning stated for the denial of the Application came from the

recommendation of denial in the Staff Report. See Ex. 4.

              COUNT I — FAILURE TO PROVIDE CONTEMPORANEOUS
                 WRITTEN DENIAL, IN VIOLATION OF THE TCA

        67.      Plaintiffs restate and incorporate by reference the preceding allegations above as if

fully set forth herein.

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         68.      The TCA comprehensively addresses telecommunications policy and the development

of facilities to provide telecommunications services throughout the United States. The TCA restricts

the authority of local governments to prevent the development of WCFs needed to provide adequate

wireless communications services.

         69.      The TCA also provides that “[a]ny decision by a State or local government or

instrumentality thereof to deny a request to place, construct, or modify personal wireless services

facilities shall be in writing and supported by substantial evidence contained in a written record.” 42

U.S.C. § 332(c)(7)(B)(iii) (emphasis added).

         70.      The Supreme Court has established that a written denial need not be provided in the

same document as the reasoning for such denial, but the reasoning must be provided, in writing,

“essentially contemporaneously” to the written denial. See T-Mobile South, LLC v. City of Roswell, Ga.,

574 U.S. 293 (2015) (“Because an entity may not be able to make a considered decision whether to

seek judicial review without knowing the reasons for the denial of its application, and because a court

cannot review the denial without knowing the locality's reasons, the locality must provide or make

available its written reasons at essentially the same time as it communicates its denial.”)

         71.      The Supreme Court has held that a statement of reasoning provided twenty-six (26)

days after a written denial was not provided “essentially contemporaneously” and, as such, was a

violation of the written denial requirement of the TCA. City of Roswell, Ga., 574 U.S. at 308.

         72.      On December 20, 2021, the County Council voted to deny the Application.

         73.      The Director of Planning and Zoning Division sent a brief written statement of denial

dated December 21, 2021 to Cellective Solutions. See Ex. 6.2




2         Under Missouri law, a final action triggering the 30-day filing deadline does not occur until the denial is
communicated in writing. See USCOC of Greater Missouri v. City of Ferguson, Mo., 583 F.3d 1035, 1041 (8th Cir. 2009) (“The
plain language of the TCA indicates that ‘final action’ does not occur until issuance of a written decision.”).

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         74.     In a writing dated January 11, 2021, the County Council provided to Cellective

Solutions its Finding of Facts, Conclusions of Law, Decision and order dated January 11, 2021. See

Ex. 7.

         75.     The County failed to provide reasons in writing contemporaneously with its denial of

the Application because the written explanation was sent twenty-one (21) days after the written denial.

         76.     The TCA provides, in pertinent part, that:

                 Any person adversely affected by any final action or failure to act by a
                 State or local government or any instrumentality thereof that is
                 inconsistent with this subparagraph may, within 30 days after such action,
                 or failure to act, commence an action in any court of competent
                 jurisdiction. The court shall herein decide such action on an expedited
                 basis.

47 U.S.C. § 332(c)(7)(B)(v).

         77.     Plaintiffs are “person[s] adversely affected” as that term is used in 47 U.S.C. §

332(c)(7)(B)(iii).

         78.     Wireless telecommunications service is a “personal wireless service” for purposes of

the TCA. 47 U.S.C. § 332(c)(7)(C)(i).

         79.     The TCA has been interpreted to vest courts of competent jurisdiction with authority

to grant mandamus relief if such relief would be warranted under the circumstances.

         80.     Based on Supreme Court precedent, the County Council failed to issue a

contemporaneous written statement detailing its reasoning in violation of the TCA.

         WHEREFORE, Plaintiffs respectfully request that this Honorable Court:

                 (a)    Issue an Order requiring the County to certify to this Court a true, full and
                        complete copy of the record of the acts and procedures involved in the denial
                        of the Application so that this Court may review the data and records and
                        adjudicate upon the legality of said proceedings under the TCA;

                 (b)    Issue an Order prohibiting the County from denying the Application;

                 (c)    Issue an Order requiring the County to complete the ministerial act of
                        approving the Application;

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                 (d)      Issue a writ of mandamus directing the County to discharge its duties properly
                          and to approve the Application; and

                 (e)      Provide for such other and further relief as the Court deems just and proper.

                    COUNT II — FAILURE TO SUPPORT DENIAL
                    WITH SUBSTANTIAL EVIDENCE CONTAINED
               IN THE WRITTEN RECORD, IN VIOLATION OF THE TCA

         81.     Plaintiffs restate and incorporate by reference the preceding allegations above as if

fully set forth herein.

         82.     The TCA also provides that “[a]ny decision by a State or local government or

instrumentality thereof to deny a request to place, construct, or modify personal wireless services

facilities shall be in writing and supported by substantial evidence contained in a written record.”

42 U.S.C. § 332(c)(7)(B)(iii) (emphasis added).

         83.     The County’s denial of the Application is not supported by substantial evidence

contained in the written record.

         84.     The County Council did not explain what factors it considered when making the

determination of “good cause” relating to the proposed changes to the height, setback, and spacing

requirements.

         85.     The County Council did not state a basis for why it determined there was a lack of

“good cause” shown by Parallel and Cellective Solutions regarding the proposed changes to the height,

setback, and spacing requirements.

         86.     The County Council provided a recitation of the hearing, but failed to offer any

statement, analysis, or reasoning, for its finding that good cause was not shown.

         87.     Furthermore, the evidence contained in the record supports approval of the

Application. The only single reason given for the denial of the Application came from the Staff Report.

See Ex. 4. The Staff report considered three factors on which to decide the Application, as stated

below:

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                   (1)     Would the establishment, maintenance, or operation of the
                   conditional use be detrimental to or endanger public health, safety, or
                   general welfare?

                   (2)     Would the conditional use will not injure the use and
                   enjoyment of other property in the immediate vicinity for the purposes
                   already permitted or to the esthetic and/or scenic values of the vicinity;
                   or substantially diminish and impair property values within the
                   neighborhood?

                   (3) Would establishment of the conditional use impede the normal and
                   orderly development and improvement of surrounding property for
                   uses permitted in the district?


Id., at pg. 3-4.

         88.       The Staff found that the requests contained in the Application represented neither a

safety issue nor an impediment to development in the surrounding district. See Ex. 4, at pg. 3-4.

         89.       The Staff only found that one single factor was not met; the Staff concluded that the

Proposed Tower would have a negative aesthetic effect on a single neighboring residence. See Ex. 4,

at pg. 4.

         90.       Under federal law, aesthetic concerns, standing alone, are not substantial evidence that

can support the denial of provider’s application. See Municipal Communications, LLC v. Cobb Cty., Ga.,

796 F. App’x 663, 669 (11th Cir. 2020).

         91.       Insofar as the County Council’s reasoning was based on the Staff Report’s analysis of

the applicable factors, there is no substantial evidence contained in the record on which the

Application can be properly denied. No substantial evidence supports denial on the basis of aesthetic

concerns. The Proposed Tower would be located in a manner to reduce visual intrusion. For example,

the Proposed Tower would be located on the southern portion of the parcel where the ground level

drops about 20 feet from the front of the parcel. In addition, the Proposed Tower would be nestled

against a tree line of a wooded area. These factors substantially minimize the visual presence of the

Proposed Tower.

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        92.      Likewise, no substantial evidence supports the denial on the basis of height or setback

issues. The Staff noted that there were no health, safety, or general welfare concerns and the County

Council failed to articulate any reason for denial on these grounds.

        93.      Finally, the Staff noted the one (1) mile spacing requirement, pursuant to County

Ordinances § 405.505(A)(2), as a reason for denying the Proposed Tower. However, the County’s

spacing ordinance has been superseded by the Missouri Siting Act, which prohibits, among other

things, an authority from evaluating an application based on the availability of other potential locations

for the placement of wireless support structures or wireless facilities. See MO. REV. STAT. § 67.5094(2).

        94.      Based on the record before the County Council, the County’s denial of the Application

is not supported by substantial evidence and as such is a violation of the TCA.

        WHEREFORE, Plaintiffs respectfully request that this honorable Court:

                 (a)      Issue an Order requiring the County to certify to this Court a true, full and
                          complete copy of the record of the acts and procedures involved in the denial
                          of the Application so that this Court may review the data and records and
                          adjudicate upon the legality of said proceedings under the TCA;

                 (b)      Issue an Order prohibiting the County from denying the Application;

                 (c)      Issue an Order requiring the County to complete the ministerial act of
                          approving the Application;

                 (d)      Issue a writ of mandamus directing the County to discharge its duties properly
                          and to approve the Application; and

                 (e)      Provide for such other and further relief as the Court deems just and proper.

              COUNT III — DISCRIMINATION AMONGST EQUIVALENT
                    PROVIDERS, IN VIOLATION OF THE TCA

        95.      Plaintiffs restate and incorporate by reference the preceding allegations above as if

fully set forth herein.

        96.      The TCA requires that any actions a locality takes be made on a competitively neutral

and nondiscriminatory basis. 47 U.S.C. § 332(c)(7)(B)(i)(I).



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        97.     The TCA provides that the “regulation of the placement, construction, and

modification of personal wireless service facilities by any State or local government or instrumentality

thereof . . . shall not unreasonably discriminate among providers of functionally equivalent services…”

47 U.S.C. § 332(c)(7)(B)(i)(I).

        98.     While the County Council offered no formal conclusion of its reasoning for denying

the Application, the CUP was necessary because of the height, setback and spacing restrictions under

County Ordinance § 405.505(A)(2).

        99.     However, the County has allowed other WCFs in excess of 85-feet within the area.

        100.    Furthermore, another 115-foot WFC was permitted by the County within the vicinity

of the Proposed Site.

        101.    Defendants lack any reasonable basis to treat the Application differently from the

applications of the owners of the other cell towers in the County.

        102.    Plaintiffs provide a functionally equivalent service to that provided by the owners and

operators of the other towers in the County.

        103.    The County has, therefore, unreasonably discriminated against Plaintiffs in violation

of the TCA.

        WHEREFORE, Plaintiffs respectfully request that this honorable Court:

                (a)     Issue an Order requiring the County to certify to this Court a true, full and
                        complete copy of the record of the acts and procedures involved in the denial
                        of the Application so that this Court may review the data and records and
                        adjudicate upon the legality of said proceedings under the TCA;

                (b)     Issue an Order prohibiting the County from denying the Application;

                (c)     Issue an Order requiring the County to complete the ministerial act of
                        approving the Application;

                (d)     Issue a writ of mandamus directing the County to discharge its duties properly
                        and to approve the Application; and

                (e)     Provide for such other and further relief as the Court deems just and proper.

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                      COUNT IV — ACTION FOR INJUNCTION
                   AND WRIT OF MANDAMUS PURSUANT TO THE
                 MISSOURI UNIFORM WIRELESS COMMUNICATIONS
                      INFRASTRUCTURE DEPLOYMENT ACT

        104.     Plaintiffs restate and incorporate by reference the preceding allegations above as if

fully set forth herein.

        105.     The Missouri Siting Act serves to regulate the power of local governments related to

WCF applications.

        106.     The Missouri Siting Act places restrictions on local jurisdictions in considering

applications for wireless facilities, and in particular, section 67.5094 of the Act, entitled “Prohibited

Acts by Authority”, prohibits a municipality from considering certain criteria in regard to an

application for placement of a WCF.

        107.     Section 67.5094 of the Act provides:

                 In order to ensure uniformity across the state of Missouri with respect to
                 the consideration of every application, an authority shall not:

                 (1)     Require an applicant to submit information about, or evaluate an
                 applicant’s business decisions with respect to its designed service,
                 customer demand for service, or quality of its service to or from a
                 particular area or site;

                 (2)       Evaluate an application based on the availability of other potential
                 locations for the placement of wireless support structures or wireless
                 facilities, including without limitation the option to collocate instead of
                 construct a new wireless support structure or for substantial modifications
                 of a support structure, or vice versa; provided, however, that solely with
                 respect to an application for a new wireless support structure, an authority
                 may require an applicant to state in such applicant’s application that it
                 conducted an analysis of available collocation opportunities on existing
                 wireless towers within the same search ring defined by the applicant, solely
                 for the purpose of confirming that an applicant undertook such an
                 analysis; ....

                 (3)     Dictate the type of wireless facilities, infrastructure or technology
                 to be used by the applicant...




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                 (4)     Require the removal of existing wireless support structures or
                 wireless facilities, wherever located, as a condition for approval of an
                 application;…

                 (15) Discriminate or create a preference on the basis of the ownership,
                 including ownership by the authority, of any property, structure, or tower
                 when promulgating rules or procedures for siting wireless facilities or for
                 evaluating applications;…

                 (18) Condition the approval of an application on, or otherwise require,
                 the applicant's agreement to indemnify or insure the authority in
                 connection with the authority's exercise of its police power-based
                 regulations;…

Id. at § 67.5094(1), (2), (3), (4), (15), and (18).

        108.     Missouri law is clear that any action taken by or an ordinance enacted by a local

authority that conflicts with state law is void. “If a local law either prohibits what state law allows, or

allows what state law prohibits, then a local law is in conflict with the state law and, therefore,

preempted…Thus, local ordinances regulating matters upon which there is a state law must be in

harmony with the state on that subject.” Borron v. Farrenkopf, 5 S.W.3d 618, 622 (Mo. App. W.D. 1999).

“An ordinance conflicts with state law if it permits something state law prohibits, or prohibits

something state law permits.” State ex rel. Sunshine Enterprises of Missouri, Inc. v. Bd. of Adjustment of City

of St. Ann, 64 S.W.3d 310, 314 (Mo. 2002). If a municipality’s ordinance conflicts with state law, it is

void. City of St. Peters v. Roeder, 466 S.W.3d 538 (Mo. 2015).

        109.     The Act permits authorities to “exercise zoning, land use, planning, and permitting

authority within their territorial boundaries with regard to the siting of new wireless support

structures” but specifies that that authority is constrained by the limitations provided in the applicable

statutes, including in RSMo § 67.5094. This is consistent with case law interpreting Missouri’s

telecommunications statute, which has explicitly held that the statute is applicable to Missouri

municipalities and limits the authority of a municipality to exercise its zoning authority. Eco-Site, LLC

v. City of Univ. City, Missouri, 431 F. Supp. 3d 1069, 1079 (E.D. Mo. 2019) (“This Court concludes that


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zoning authorities like the defendant [University City, Missouri Board of Adjustment] are subject to §

67.5094's prohibitions when reviewing applications like the plaintiffs' variance request.”).

        110.    The County Ordinances restrict the siting of WCF in C1 zones by requiring a

“minimum distance between telecommunication towers” of one (1) mile. See Ex. 1, at § 405.505(A)(2).

        111.    The spacing requirement of County Ordinance § 405.505(A)(2) is directly prohibited

by Missouri Siting Act § 67.5094(1), which prohibits evaluation of an applicant’s business decisions,

in that it replaces the business judgment of Plaintiffs and AT&T with the arbitrary judgement of the

County as to where the Proposed Tower is needed. Whether a WCF is needed within one (1) mile of

another WCF is a business decision protected by Missouri law.

        112.    The spacing requirement of County Ordinance § 405.505(A)(2) is directly prohibited

by Missouri Siting Act § 67.5094(2), which prohibits an authority from evaluating an application based

on the availability of other potential locations for the placement of wireless support structures or

WCFs. The spacing requirement allows for the evaluation of a WCF application based on the

perceived availability of another wireless service, in violation of Missouri law.

        113.    The spacing requirement of County Ordinance § 405.505(A)(2) is directly prohibited

by Missouri Siting Act § 67.5094(3), which provides that an authority is not permitted to dictate the

type of wireless facilities, infrastructure, or technology to be used by the applicant. AT&T provided

Plaintiffs with a narrow search radius in which to construct a tower that would work properly with

the other towers in the AT&T’s network and provide adequate service and coverage for its customers.

AT&T will utilize the Proposed Tower to upgrade its current network and technology—including its

e-911 capabilities. The prohibition of the Proposed Tower would dictate to the provider where it

must locate its tower and thus its infrastructure design and whether it can effectively and efficiently

improve its technology (including by limiting its ability to provide a FirstNet network improvement

for 911 service in the area).


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        114.    The spacing requirement of County Ordinance § 405.505(A)(2) is directly prohibited

by Missouri Siting Act § 67.5094(4), which prohibits a locality from requiring an applicant to remove

an existing tower as a condition of approval for its new tower. The County’s prohibition on WCFs

within one (1) mile of one another effectively prohibits Plaintiffs from constructing a tower at the

Proposed Site in the absence of the removal of the tower on the adjacent property.

        115.    The County Ordinances restrict the siting of WCF in C1 zones by limiting the height

of a WCF to eighty-five (85) feet. See Ex. 1, at § 405.505(A)(2).

        116.    The height requirement of County Ordinance § 405.505(A)(2) is directly prohibited by

Missouri Siting Act § 67.5094(1) in that the height of the tower is a decision impacted by the need in

the area, and is, as such, a business decision reserved for the Plaintiffs and AT&T under Missouri law.

        117.    The height requirement of County Ordinance § 405.505(A)(2) is directly prohibited by

Missouri Siting Act § 67.5094(3) in that a restriction on the height of the tower limits the type of

technology available to meet the needs of the community, as determined by Plaintiffs and AT&T.

Dictating tower height, dictates the type of technology available to service providers.

        118.    The height requirement of County Ordinance § 405.505(A)(2) is directly prohibited by

Missouri Siting Act § 67.5094(15), which prevents discrimination or the creation of a preference based

on ownership of the tower. The County has already approved the tower application for SBA’s tower

at nearly the same location and at the same height. It would be discriminatory to now reject Plaintiffs’

Application.

        119.    Furthermore, section 67.5094(18) prevents the county from imposing unreasonable

aesthetic requirements or obligations on the Proposed Tower. Insofar the County Council relied on

the Staff Report, which recommended denial of the Application based solely on aesthetic concerns,

such a reliance is a violation of Missouri law. It is further unreasonable to assert that the scenic




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enjoyment of the nearest residence would be impacted where the residence faces a commercially zoned

property as well as another equally as tall tower.

        WHEREFORE, Plaintiffs respectfully request that this honorable Court:

                (a)     Issue an Order requiring the County to certify to this Court a true, full and
                        complete copy of the record of the acts and procedures involved in the denial
                        of the Application so that this Court may review the data and records and
                        adjudicate upon the legality of said proceedings under the Missouri Siting Act;

                (b)     Issue an Order prohibiting the County from denying the Application;

                (c)     Issue an Order requiring the County to complete the ministerial act of
                        approving the Application;

                (d)     Issue a writ of mandamus directing the County to discharge its duties properly
                        and to approve the Application; and

                (e)     Provide for such other and further relief as the Court deems just and proper.


Dated: January 20, 2022
                                                Respectfully submitted,

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